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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                  )
                                            )
       Plaintiff,                           )
                                            )
              v.                            )
                                            )
 CHRISTOPHER TATE,                          )   NO. 1:20-cr-0096-TWP-DLP -01
 JOVAN STEWART,                             )                            -02
       a/k/a Peso,                          )
 ROBERT HINTON,                             )                                 -03
 TIA DIMMETT,                               )                                 -04
 LACEY GUZMAN,                              )                                 -05
 SANDRA KELLOGG,                            )                                 -06
 DESIRAE EVANS,                             )                                 -07
 ERIC POORE,                                )                                 -08
       a/k/a Hollywood,                     )
 JOSE RODRIGUEZ-CHAVEZ,                     )                                 -09
       a/k/a Jalisco,                       )
       a/k/a Johnny,                        )
 JASON LEWIS,                               )                                 -10
 DWYATT HARRIS,                             )                                 -11
 DOROTHY KNIGHT, and                        )                                 -12
 CHAYLON RUSH,                              )                                 -13
                                            )
       Defendants,                          )


              MOTION TO ESTABLISH DISCOVERY SCHEDULE,
           CONTINUE TRIAL DATE, AND GRANT PROTECTIVE ORDER

       Comes now the United States of America, by counsel, Josh J. Minkler,

 United States Attorney, and Bradley A. Blackington, Assistant United States

 Attorney, and files this Motion to Establish Discovery Schedule, Continue Trial

 Date, and Grant Protective Order and avers the following in support of the

 Motion:
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       A.    MOTION TO ESTABLISH DISCOVERY SCHEDULE

       1.    On March 17, 2020, a grand jury in the Southern District of

 Indiana returned an Indictment against the above-captioned defendants.

       2.    The discovery material in this case consists of several thousand

 pages of court orders, search warrants, line sheets from wire surveillance,

 police reports, and documents and evidence removed from multiple sites

 searched on March 19, 2020. Law enforcement also seized controlled

 substances, drug paraphernalia, and documentary evidence, which federal

 authorities are currently processing. The discovery material also includes

 recordings of wire and electronic surveillance maintained over fourteen

 telephones during the course of the investigation. The wire and electronic

 surveillance captured over 30,000 wire and electronic communications.

       3.    The government has not had adequate time to provide copies of all

 of this evidence and the preparation and copying of the discovery materials will

 take several more weeks.

       4.    Due to the complexity of this case, along with the volume of

 discovery anticipated, the government would move the Court to set aside the

 Discovery Order previously issued and to adopt the schedule proposed herein.

       5.    All discovery will be ready and available for each defendant=s

 counsel to pick up at the office of the United States Attorney, Indianapolis,

 Indiana. Court-appointed counsel will be provided all discovery at no cost,

 other than a hard drive that they shall provide to the U.S. Attorney’s office.

 Retained counsel will be billed for discovery.
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       6.    Accordingly, the government requests the Court to adopt the

 following discovery schedule:

       a.    Disclosure of all Applications, Affidavits, and Orders pertaining to

 court-authorized Title III applications shall be accomplished on or before April

 13, 2020;

       b.    Disclosure of copies of all recordings made pursuant to court-

 authorized wire and electronic surveillance shall be accomplished on or before

 April 13, 2020;

       c.    Disclosure of all line sheets from Title III interceptions shall be

 accomplished on or before April 13, 2020;

       d.    Disclosure of all search warrants and search warrant inventories

 pertaining to the searches conducted on November 17, 2017 shall be

 accomplished on or before April 20, 2020;

       e.    Disclosure of each defendant=s own criminal history and laboratory

 reports on all drug purchases and seizures completed to date and all

 fingerprint analysis reports completed to date shall be accomplished on or

 before May 4, 2020;

       f.    Any Notice of Expert Witnesses will be provided by May 11, 2020

 and supplemented thereafter as information becomes available.

       7.    Additionally, the government requests that the Court orders the

 defendants to provide reciprocal discovery pursuant to Federal Rules of

 Criminal Procedure 16(b)(1)(A) which includes permission to inspect and copy

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 or photograph books, papers, documents, photographs, tangible objects, any

 results or reports of physical or mental examinations and of scientific tests or

 experiments made in connection with this case, or copies or portions thereof,

 which are within the possession, custody or control of the defendant and which

 the defendant intends to introduce as evidence in chief at the trial, or which

 were prepared by a witness whom the defendant intends to call at the trial

 when the results or reports related to that witnesses testimony.

       B.     MOTION TO CONTINUE JURY TRIAL

       8.     On March 17, 2020, a grand jury in the Southern District of

 Indiana returned an Indictment against the above-captioned defendants.

       9.     On March 26, 2020, the Court entered an Order scheduling the

 trial in the above-captioned matter for May 18, 2020. (Dkt. 134.)

       10.    The above-captioned matter qualifies as a complex case pursuant

 to 18 U.S.C. ' 3161(h)(8)(B)(ii) for the following reasons:

       a.     The case involves 13 defendants.

       b.     The case stems from a Title III investigation, in which the DEA

 conducted wire surveillance over ten different cellular telephones over a time

 period ranging from November 2019 through March 2020. During the wire

 surveillance, the FBI intercepted over 30,000 wire and electronic

 communications.

       c.     At the close of the investigation, the government executed search

 warrants and seized evidence from 21 different locations.

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       d.    As a result of the Title III investigation, the government requires a

 substantial period of time to determine which telephone conversations it will

 introduce at trial and generate transcripts of pertinent telephone

 conversations. In addition, defense counsel will need substantial time to

 review the taped conversations and line sheets generated from the Title III

 investigation. Such preparation will result in the presentation of a more

 streamlined and efficient trial, thus advancing the interest of judicial economy.

       e.    The search warrants executed by the government resulted in the

 seizure of numerous documents, firearms, currency, controlled substances,

 and drug paraphernalia. The government needs additional time to review all

 of the seized documents and evidence and to make these documents available

 for the defendants. In addition, defense counsel will need substantial time to

 review these discovery materials.

       11.   For the reasons set forth above, the government requests a

 continuance of this matter.   Furthermore, because of the logistical difficulties

 in scheduling a trial date to accommodate so many different defense attorneys,

 the government requests the Court to schedule a pretrial conference after the

 conclusion of the discovery schedule and the parties have had a reasonable

 time to negotiate plea agreements.

       C.    MOTION FOR PROTECTIVE ORDER

       12.   The discovery material that the government will provide to the

 defendant will involve video recordings, photographs, and surveillance videos

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 which would depict confidential informants used by the government.

 Moreover, reports that the government will provide contain Personal

 Identification Information (“PII”) for various individuals that should not be

 disclosed to the public.

       13.   Consequently, the government moves the Court for a protective

 order, ordering counsel and/or agents of counsel for the defendant to not

 photocopy or duplicate, in whole or in part, attach, circulate, nor publish in

 any manner, other than to share same with his client while maintaining the

 care, custody and control of same, any discovery or Jencks Act material

 provided by the government without providing the government with an

 opportunity to be heard regarding the public disclosure and only upon prior

 permission for public disclosure being granted by the Court.

       WHEREFORE, the government requests the Court to establish the

 discovery schedule in a manner consistent with paragraph 6 of this Motion,

 continue the May 18, 2020 trial date, schedule a pretrial conference for this

 matter that would occur in June 2020, and grant the protective order

 requested by the government.

                                       Respectfully submitted,

                                       JOSH J. MINKLER
                                       UNITED STATES ATTORNEY

                                       s/Bradley A. Blackington
                                By:
                                       Bradley A. Blackington
                                       Assistant United States Attorney

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                            CERTIFICATE OF SERVICE

       I hereby certify that on March 30, 2020, a copy of the foregoing was filed

 electronically. Notice of this filing will be sent to all parties by operation of the

 Court=s electronic filing system. Parties may access this filing through the

 Court=s system.




                                        s/Bradley A. Blackington
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